                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF RHODE ISLAND


 STATE OF NEW YORK, et al.,

                Plaintiffs,

        v.                                               C.A. No. 1:25-cv-00039

 DONALD TRUMP, in his official capacity as
 President of the United States; et al.,

                Defendants.


PLAINTIFFS’ REPLY IN SUPPORT OF RENEWED SECOND MOTION TO ENFORCE
       Defendants have been halting Federal Emergency Management Agency (“FEMA”)

disbursements for “manual review” since early February, with no clear statement or explanation

of when this process will end. Defendants do not dispute this fact. They say that, under their

“manual review process,” FEMA funds may disburse “within 90 days.” ECF 172 at 13. That said,

as to disaster assistance for the victims of the Maui wildfires, “FEMA cannot commit to a particular

timeframe for acting on the pending payment requests.” Id. at 14. This policy, by whatever name

Defendants choose to call it, constitutes “a categorical pause or freeze of funding appropriated by

Congress” and violates the Court’s preliminary injunction order. ECF 161 at 44 ¶ 2. Moreover, a

March 20, 2025, FEMA memorandum and accompanying chart of programs sorted by “risk” of

“touch[ing] in any way on immigration” or involving “sanctuary jurisdictions,” which Plaintiff

States did not obtain until March 27, 2025, and which Defendants have never disclosed, strongly

suggests that the current funding freeze at FEMA stems directly from the January 20, 2025

executive order titled “Protecting the American People Against Invasion” (Invasion EO). Exec.

Order 14159, 90 Fed. Reg. 8443 (Jan. 29, 2025). The memorandum and its attachments are

attached as Exhibit 1. The freeze at FEMA therefore was also “dictated, described, or implied by

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Executive Orders issued by the President before rescission of the OMB Directive.” ECF 161 at 44

¶ 2.

       The Department of Homeland Security (“DHS”) and its subdivision FEMA are in violation

of the Court’s preliminary injunction order. Plaintiff States seek only the limited relief of a more

specific command that FEMA halt its unlawful funding freeze, which inflicts ever-increasing

harms on the States and their sub-grantees. That relief should be granted.

                                        BACKGROUND
       Because new facts come to light daily in this matter, Plaintiff States will again lay out a

comprehensive timeline of events.

       On January 20, 2025, the President issued the Invasion EO, which contained two provisions

relating specifically to federal funding pleaded in the First Amended Complaint. See ECF 114

¶ 109. First, section 17 provides that the Secretary of DHS “shall … evaluate and undertake any

lawful actions to ensure that so-called ‘sanctuary’ jurisdictions … do not receive access to Federal

funds.” 90 Fed. Reg. at 8446. Second, section 19 requires a “funding review” under which the

Secretary of DHS “shall: (a) Immediately review and, if appropriate, audit all contracts, grants, or

other agreements providing Federal funding to non-governmental organizations supporting or

providing services, either directly or indirectly, to removable or illegal aliens … [and] (b) Pause

distribution of all further funds pursuant to such agreements pending the results of the review in

subsection (a).” Id. at 8447.

       Within a week, and the day after OMB issued its funding freeze directive (OMB M-25-13),

DHS took specific actions to implement sections 17 and 19 of the Invasion EO. As to section 19

of the Invasion EO, on January 28, 2025, in a document that Defendants have previously disclosed,

DHS Secretary Kristi Noem mandated what she called a “freeze” on “all Department grant

disbursements” that “(1) go to non-profit organizations or for which non-profit organization are

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eligible, and (b) touch in any way on immigration.” ECF 166-2 at 1. DHS put all such funds “on

hold pending review.” Id. Then, as to section 17, on February 19, 2025, Secretary Noem issued a

memorandum titled “Restricting Grant Funding for Sanctuary Jurisdictions.” This memorandum

has not been disclosed by Defendants, was not available to Plaintiff States at the filing of their

pending Motion, and is attached here as Exhibit 2. The memorandum provides a list of criteria to

define the term “sanctuary jurisdictions,” which was left undefined by the Invasion EO. See Ex. 2

at 1–2. It then directs “[a]ll components” of DHS, such as FEMA, to “cease providing federal

funding to sanctuary jurisdictions.” Id. at 2.

       FEMA instituted the ongoing funding freeze in order to comply with these directives, as is

demonstrated by the March 20, 2025, memorandum attached as Exhibit 1. This memorandum,

authored by the Acting FEMA Administrator, Cameron Hamilton, and directed to Secretary Noem,

proposes FEMA’s plan for compliance with Secretary Noem’s January 28 and February 19

memoranda. Ex. 1 at 1. The FEMA memorandum proposes a “review process” in order “to align

with Administration and Secretary priorities on non-governmental organizations, immigration, and

sanctuary jurisdictions,” id. (emphasis supplied)—priorities stemming from the Invasion EO.

Secretary Noem signed her approval to the process on March 25, 2025. Id. at 3–4.

       It appears from the memorandum and the appended chart, id. at 5 tbl. A, that every single

FEMA grant program has been under a review process to assess whether to “Apply Sanctuary

Jurisdiction,” a clear reference to section 17 of the Invasion EO, and to assess the “Risk of NGO /

Immigration,” a clear reference to section 19 of the Invasion EO. As the FEMA memorandum

explains, “FEMA has begun and will continue the individual grant award manual payment review

process in preparation for the approach and methodology being approved.” Id. at 10. In other




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words, the “manual payment review process” that Defendants identify is an effort to implement

the Invasion EO.

       The public timeline, and facts to which Defendants have already admitted, corroborate

what the FEMA memorandum plainly says. On February 10, 2025, Stacey Street, Director of the

Office of Grants Administration at FEMA, sent an email to all staff directing them to “put financial

holds on --
         all of your awards – all open awards, all years.” ECF 166-4 (emphasis in original). The

next day, Street sent another email trying to emphasize that “these are not ‘holds.’” ECF 166-5

at 2 (emphasis in original). She stated that “‘[h]olds’ implies what we were directed to originally

due [sic] with OMB M-25-13, which was rescinded and a TRO injunction placed.” Id. She claims

that “we will still be processing our awards but will be adding a level of internal controls.” Id.

       Nearly two months later, Plaintiff States are still waiting for this “processing” to happen.

Plaintiff States have put abundant evidence in the record that their FEMA grants remain frozen to

this day, with no public explanation offered. ECF 168-1 ¶ 12; ECF 168-2 ¶ 20; ECF 168-3 ¶ 6;

ECF 168-4 ¶¶ 5–7. Defendants do not dispute that reality; rather, they argue that it is the result of

a “manual review.” The most recent declaration from Acting Administrator Hamilton repeatedly

intones that “FEMA is working as quickly as possible on the final approval process.” ECF 172-1

¶¶ 22–26. “FEMA believes it will be able to fully clear the backlog of grant payment requests

within 90 days of the writing of this Declaration,” id. ¶ 10, meaning June 25, 2025. As to

earthquake preparedness grants, all FEMA can say is that it is “working as quickly as possible to

implement the manual review.” Id. ¶ 27. FEMA musters only two limited examples of any funds

at all being disbursed, and those only on March 19. Id. ¶ 8. For instance, the Emergency

Management Performance Grant Program funds core operations of state emergency management




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agencies, ECF 68-99 ¶¶ 5, 12, yet only Missouri has apparently received any money at all under

that program since the FEMA freeze went into effect, ECF 172-1 ¶ 8.

                                          ARGUMENT
I.     FEMA has instituted “a categorical pause or freeze of funding appropriated by
       Congress.”

       The crux of Defendants’ argument is that their purported “review process” is not, as a

matter of law, a “categorical pause or freeze of funding” in violation of the preliminary injunction.

ECF 172 at 7–8. But this is fundamentally a factual question, not a legal one. The factual question

is whether the practice that FEMA has instituted—Defendants can call it whatever they want—

constitutes “a categorical pause or freeze of funding appropriated by Congress.” ECF 161 at 44

¶ 2. Likewise, the preliminary injunction makes clear that Defendants “may not take any steps to

implement, give effect to, or reinstate under a different name or through other means the directive

in the OMB Directive.” Id. at 44 ¶ 3.

       The undisputed facts show that the manual review implements a categorical freeze by

another name. First, it is a freeze. Plaintiff States have not seen any substantial disbursement of

funds on important grants since early February. ECF 168-1 ¶ 12; ECF 168-2 ¶ 20; ECF 168-3 ¶ 6;

ECF 168-4 ¶¶ 5–7. Plaintiff States’ experience aligns with the fact that internal FEMA emails show

that “hold toggles” or “financial holds” were placed on “all
                                                         - - of [FEMA] awards” on February 10,

2025. ECF 166-4. And Acting Administrator Hamilton admits that this situation is functionally

indefinite in duration. For some grants, he cannot make any commitment at all as to when it will

end. ECF 172-1 ¶¶ 22, 27. For others, there is a vague promise of June 25. Id. ¶ 10. Bafflingly,

Defendants simultaneously maintain that issues with the PARS payment system have somehow

been “corrected.” ECF 172 at 14. But the citation for this fact is merely Administrator Hamilton’s




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description of the latest manual review process, ECF 172-1 ¶ 11, which appears only to be a road

toward more indefinite pauses, ECF 169-1 at 22.

       Second, the pause is categorical: in FEMA’s words, “all open awards, all years.” ECF 166-

4. Acting Administrator Hamilton was able to name only a single program with disbursements to

multiple States of the dozens that FEMA administers. ECF 172-1 ¶ 8. His March 20, 2025,

memorandum to Secretary Noem shows that FEMA has been withholding funds while it is

reviewing every single program for compliance with the Invasion EO, as discussed further in the

next section. Ex. 1 at 5–9.

       None of this review has anything to do with “applicable statutory, regulatory, or grant

terms.” ECF 161 at 43. First, as to grant terms, Defendants identify none. They make a vague

suggestion that Tucker Act preclusion could apply due to “the specific terms and conditions of the

relevant grant agreements,” ECF 172 at 3, but they do not actually point to any term or condition

that they could be relying on. Plaintiff States are not raising “individual contract or grant disputes.”

Id. at 4. FEMA chose to apply a categorical freeze on all disbursements under all grants without

reference to any specific grant terms.

       Finally, Defendants are wrong that general OMB regulations about award administration,

2 C.F.R. § 200.300, and allowable costs, id. § 200.403, create “independent regulatory authority”

for their indefinite, categorical freeze. See ECF 172 at 10–11. These regulations describe

overarching principles for federal grant administration but do not permit indefinite withholding of

funds. The first requires the administering agency to appropriately communicate to grantees

requirements to comply with the Constitution and federal nondiscrimination law. 2 C.F.R.

§ 200.300. It gives no power to a federal agency to freeze disbursement of obligated funds with no

notice or explanation. The second merely sets forth categories of allowable costs. 2 C.F.R.



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§ 200.403. Notably absent from Defendants’ arguments are the actual remedies available to FEMA

were it to believe a recipient in noncompliance, which are set forth in 2 C.F.R. §§ 200.208 and -

.339. That is because there is no connection between Defendants’ actions and the requirements of

the applicable regulations. No regulation Defendants point to authorizes an agency to engage in an

indefinite review of payments to the factual result that funds appropriated by Congress and

obligated by FEMA are indefinitely impounded.

II.    The categorical freeze was “dictated, described or implied by Executive Orders issued
       by the President before rescission of the OMB Directive.”

       The March 20, 2025, FEMA memorandum now makes abundantly clear that the FEMA

freeze has served specifically “to align with Administration and Secretary priorities on non-

governmental organizations, immigration, and sanctuary jurisdictions.” Ex. 1 at 1. The “manual

payment review process” has been “in preparation for” FEMA’s new review process to the same

end. Id. at 10. The “priorities” of the “Administration” on “non-governmental organizations,

immigration, and sanctuary jurisdictions” are laid out in the Invasion EO. See 90 Fed. Reg. 8443.

       Acting Administrator Hamilton does not dispute that the indefinite pause stems, at least in

substantial part, from Secretary Noem’s January 28, 2025, memorandum. ECF 166-1 ¶ 11; ECF

172-1 ¶ 14. That memorandum, in turn, implemented section 19 of the Invasion EO on precisely

the same subject. 90 Fed. Reg. at 8447. That it does not mention the Invasion EO by name does

not change the analysis, as it is evident from the timing and content of the various memoranda that

Secretary Noem and Acting Administrator Hamilton are in fact implementing the Invasion EO.

See Dep’t of Comm. v. New York, 588 U.S. 752, 785 (2019) (Courts “are ‘not required to exhibit a

naiveté from which ordinary citizens are free’” (quoting United States v. Stanchich, 550 F.2d 1294,

1300 (2d Cir. 1977)).




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       The situation on Maui illustrates the dire consequences of this indefinite review for

compliance with the Invasion EO. The Lahaina fire “killed over 100 people and displaced

thousands of Hawai’i residents from their homes.” ECF 168-1 ¶ 3. Hawai’i relies on FEMA funds

to “work with survivors to create unique disaster recovery plans that are individualized to each

household.” Id. ¶ 6. These services “will cease on Friday, April 4, 2025, due to insufficient

funding.” Id. ¶ 18. Yet FEMA avers that it “cannot commit to a particular timeframe” for funds to

come back online, specifically because it is seeking to comply with “the Secretary’s January 28,

2025 memorandum,” ECF 172-1 ¶ 22, which imposed a “freeze,” ECF 166-2 at 1, just as the

Invasion EO required a “[p]ause [on] distribution of all further funds.” 90 Fed. Reg. at 8447,

§ 19(b).

       FEMA has not before revealed, however, that the ongoing freeze also stems from section

17 of the Invasion EO, directing agencies to cut off funding to “sanctuary jurisdictions.” 90 Fed.

Reg. at 8446. The March 20, 2025, FEMA memorandum makes that plain as well. The

memorandum describes a process to ensure compliance with Secretary Noem’s February 19, 2025

memorandum, including by “Apply[ing]” a “Sanctuary Jurisdiction” filter to every grant program

that FEMA administers. Ex. 1 at 1, 5. Secretary Noem’s February 19 memorandum, in turn, was

issued in order to fulfill the purpose of section 17 of the Invasion EO. See Ex. 2.

       Simply put, it has become clear that “FEMA’s process for reviewing payment requests”

was indeed “undertaken pursuant to OMB Memo M-25-13 or any of the Executive Orders,”

specifically the Invasion EO. Contra ECF 172 at 9. A FEMA employee, perhaps inadvertently,

revealed exactly that in an email to the Illinois Emergency Management Agency – Office of

Homeland Security on March 25, 2025. See ECF 169-1 at 22 (“Currently, all grants are still

pending review for compliance with Executive Orders.”). Acting Administrator Hamilton states



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that this email was “not accurate” and that the employee in question has been sent for additional

training. ECF 172-1 ¶ 27. Administrator Hamilton also states that employee training on the manual

review process just started on March 25, id. ¶ 12, even though he also swore that the manual review

has been in place at least since February 10, ECF 166-1 ¶¶ 4, 6.

III.   The Court should grant relief calculated to ensure that FEMA complies with the
       Court’s preliminary injunction order going forward.

       Finally, Defendants present arguments about the scope of the specific relief that should be

granted in response to Plaintiff States’ motion. They request, first, that any enforcement order

require FEMA “to act on the Plaintiff States’ payment requests within seven days of any such

request.” ECF 172 at 15. Defendants give no reasoning for this deadline, merely plucking it from

a range of timelines in which Plaintiff States received payment in the past, not on which FEMA

“act[ed] on” payment requests. And it does not seem to be rooted in regulation; the regulation

FEMA has cited in communications with the Plaintiff States regarding payment timing requires

payment “‘as close as is administratively feasible to a state’s actual cash outlay . . . .’” ECF 168-

4, Exhibit B (quoting 31 C.F.R. § 205.33(a)). It is also not clear what Defendants mean by “act

on,” given that FEMA has communicated that one potential disposition of a payment request is

infinite requests for information, with 30-day periods of review, until FEMA is satisfied with the

response.   Id. Accordingly, Plaintiff States request immediate compliance with the Court’s

preliminary injunction order, and a status report by Defendants within 48 hours on their

compliance.

       Next, Defendants argue that there is no need to inform the Court of the employees who

received notice of this Court’s order. Plaintiff States disagree. FEMA has engaged in blatant

disregard of the preliminary injunction in order to pursue the policy goals of the Invasion EO. See

Exs. 1 & 2. Requiring FEMA to file the list of employees who receive notice is a comparatively

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mild method of ensuring that such notice was delivered. Defendants’ privacy concerns, ECF 172

at 16, can be fully addressed by filing the list of individuals under seal, to which Plaintiff States

would not object.

                                          CONCLUSION

       For the foregoing reasons, and for those set forth in their motion, Plaintiff States

respectfully request that the Court, under its inherent powers, order FEMA to immediately halt the

challenged practice and to direct that notice of such order, along with notice of the court’s

preliminary injunction, or any forthcoming orders the Court deems relevant, be provided to

FEMA’s leadership, as well as all FEMA staff who administer these grants and other federal

financial assistance, with confirmation of such notice, including the names of recipients of the

notice, no later than 48 hours after such order.




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  Dated: March 31, 2025                               Respectfully Submitted,

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**Pro Hac Vice Motion forthcoming




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EXHIBIT 1
                                                                                         U.S. Department of Homeland Security
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                                         March 20, 2025

                                           DECISION

MEMORANDUM FOR:               Kristi Noem
                              Secretary of the Department of Homeland Security

FROM:                         Cameron Hamilton         ~~
                              Senior Official Performing the Duties of the Administrator
                              Federal Emergency Management Agency

SUBJECT:                      Approval ofFEMA-Administered Grant Disbursements


Purpose: To seek approval on the review process and parameters of grant programs
administered by the Federal Emergency Management Agency (FEMA) to align with
Administration and Secretary priorities on non-governmental organizations, immigration, and
sanctuary jurisdictions.


Background: On Jan. 28, 2025, the Secretary of the Department of Homeland Security (DHS)
issued a memo to components and agency heads entitled "Direction on Grants to Non-
governmental Organizations, " which required the development and implementation of a process
to review payments and obligations for grants that "(])goto non-profit organizations or for
which non-profit organizations are eligible and (2) touch in any way on immigration. " In
accordance with this instruction, FEMA is recommending the implementation of additional
processes to review certain grants prior to releasing funds, as outlined in this memo.
The Secretary also issued a memo on Feb. 19, 2025, "Restricting Grant Funding/or Sanctuary
Jurisdictions, " instructing all components to "review all federal financial assistance awards to
determine if Department funds, directly or indirectly, are going to sanctuary jurisdictions." In
compliance with this memo, FEMA is providing recommendations for which grant programs
sanctuary jurisdiction conditions should apply.
Appendix A provides a programmatic overview of all FEMA programs.


Action: FEMA Recommendations for A pproval
   1. The grant programs for which sanctuary jurisdiction conditions or restrictions should be
      applied;
   2. The methodology FEMA will use to assess disaster and non-disaster grant programs in
      accordance with the Secretary's direction on non-governmental organizations (NGOs)
      and immigration; and
   3. FEMA' s recommended determinations for each grant program.
                                                                                                                           1
 Action Item 1: FEMA Proposed Sanctuary Jurisdiction Programs and Applicability
FEMA recommends applying conditions or restrictions on FEMA administered non-disaster
preparedness grant programs that go to a sanctuary jurisdiction as designated by U.S.
Immigration and Customs Enforcement (ICE) and:
     a. where the purpose of the grant has a nexus to immigration activities, law enforcement, or
        national security; or,
     b. where statute does not limit how FEMA implements the program.
Based on the criteria above, FEMA recommends the conditions or restrictions be placed on all
open and future awards for the following 12 programs 1:

     1.  Case Management Pilot Program (CMPP);
     2.  Emergency Management Performance Grant (EMPG);
     3.  Homeland Security Grant Program- Operation Stonegarden (OPSG);
     4.  Homeland Security Grant Program - State Homeland Security Program (SHSP);
     5.  Homeland Security Grant Program- Urban Area Security Initiative;
     6.  Homeland Security National Training Program - Continuing Training Grants -
         Competitive (HSNTP-CTG);
     7. Port Security Grant Program (PSGP);
     8. Presidential Residence Protection Assistance Grant Program (PRPA);
     9. Regional Catastrophic Preparedness Grant Program (RCPGP);
     10. Shelter and Services Program (SSP);
     11. Targeted Violence and Terrorism Prevention Grant Program (TVTP); and
     12. Transit Security Grant Program (TSGP); and

As noted above, application of conditions or restrictions will vary based on the structure or
authority of each respective program. 2 FEMA will assess each grant and submit proposed
program implementation recommendations to the General Counsel for a legal determination as
appropriate. These program implementation recommendations will include how the conditions or
restrictions apply to prime awards, sub-awards, and existing awards and payments.
FEMA recommends conditions or restrictions on sanctuary jurisdictions not apply to disaster
grants, non-disaster mitigation grants, and grants to fire departments and organizations that
comprise the National Urban Search and Rescue Response System.
To implement guidance from the Secretary's memo, "Restricting Grant Funding for Sanctuary
Jurisdictions, " FEMA has categorized disaster and non-disaster programs into two risk profiles
using the above criteria. FEMA recommends approval of the proposed methodology:




 I While the Tribal Homeland Security Grant Program meets the criteria outlined above, FEMA did not include it for sanctuary
jurisdiction conditions or restrictions due to Tribal sovereignty.
2
  See Appendix A for additional information on program eligibility.
                     Image A: Proposed Sanctuary Jurisdictions Risk Methodology
  ;-~-~ ~Sanct~a_ry JyiJ~ict_
                            i~nDoes Not Apply            _   _'             Sanctuary Jurisdiction Applies
      • Grant programs that:                                      • Grant programs that:
          • Do not go to sanctuary jurisdiction; or                   • Go to a designated sanctuary jurisdiction;
          • Are disaster or non-disaster mitigation                      or
            grants: or                                                • Are non-disaster grants; and
          • Are non-disaster grants with no nexus to                  • Have a nexus to immigration activities. law
             immigration activities. law enforcement, or                 enforcement. or national security; or
             national security; or                                    • Are not limited by statute.
          • Are limited by statute.                               • These programs/projects require additional
      • These programs/projects should move forward                 review by OHS review.
        without additional review.

              Clears through ex.is,ing program                              Project identified as meeting Si
              controls and review processes                                  criteria. requires DHS review




                                                             Needs discussion/date- - - -- - -- - -

Action Item 2: FEMA Proposed NGO/Immigration Grant Risk Assessment Methodology

To implement guidance from the Secretary's memo, "Direction on Grants to Non-governmental
Organizations, " FEMA has categorized all disaster and non-disaster grant programs into three
risk profiles. In considering the risk level, FEMA will evaluate whether the intent and primary
purpose of the grant relates to the nexus of immigration. The intent is to ensure that FEMA's
grant programs do not encourage or induce illegal immigration or illegal harboring of illegal
aliens or any other unlawful activity. This information will lead to the determination of their risk
profile as outlined in Image B. FEMA recommends approval of the proposed methodology:


               Image B: Proposed NGO/Immigration Risk Assessment Methodology


  • Low likelihood that grant            • Further analysis required to        • High likelihood that grant
    disbursements (1) go to NGOs. and      determine likelihood. Indeterminate   disbursements (1) go to NGOs . .am!
    (2) touch in any way on                risk that grant disbursements (1)     (2) touch in any way on
    immigration.                           go to NGOs. and (2) touch in any      immigration.
  • These programs/projects should         way on immigration.                 • These programs/projects require
           orward without addil iona     • These programs/projects are           additional review by DHS.
                                           pending revjew by FEMA to assess
                                           low or high risk with concurrence
                                             from DHS.

             Clears tl1rougt1 e,,sting                                                   ProJect 1den t1f1ed as
              program controls and                                                       meeting S1 criteria.
                rev1e\~ processes                                                        requires OHS review
                                                Disapprove/date_ _ _ _ _ _ _ __ _ __
                                 .:.3-z 5- Z!5
Modify/date _ _ _ _ _ _ __ _ __                 Needs discussion/date- - - - - -- - -



Action Item 3: A pproval ofFEMA's Recommended Determinations

In accordance with the above methodologies for non-disaster and disaster grants, FEMA
recommends approval of the determinations by grant program as outlined in the table below. The
recommended determinations are:
    •   Green: Cleared by FEMA to undergo the existing program controls and review
        processes. Programs have been identified to have a low likelihood of grant
        disbursements to NGOs and low likelihood of a nexus to immigration, and the sanctuary
        jurisdiction restriction do not apply. Grants with a "green" assessment are approved to
        move forward with payment consistent with FEMA's existing processes without
        additional review by DHS.
    •   Yellow: Pending review by FEMA to conduct additional analysis on the projects and
        awards to determine likelihood of grant disbursements to NGOs with an immigration
        nexus. Sanctuary jurisdiction restrictions do not apply. As FEMA completes the analysis,
        FEMA will submit decision memos to DHS to recommend a grant program be moved to
        green or red status. FEMA will also submit yellow payments weekly for DHS
        consideration and approval if payment can move forward.
    •   Red: For DHS review and approval of payment requests or evaluation for termination of
        grant program. Programs have been identified to have a high likelihood of grant
        disbursements to NGOs and immigration nexus, and/or meets the sanctuary jurisdiction
        restrictions. FEMA will conduct an assessment and provide recommendations to DHS on
        whether payments should be denied or approved. In the recommendation, FEMA will
        review the sanctuary jurisdictions identified by U.S. Immigration and Customs
        Enforcement (ICE) and specifically notate the jurisdictional restrictions. The
        recommendation will consider, among other things, the purpose and intent of the grant,
        the benefits to the DHS mission and risks, and the context of which organization is
        receiving the award. For example, is the individual grant award going to a county
        government who is not on the ICE sanctuary jurisdiction list, but the state is on the list.
        FEMA will also provide recommendations on if programs and/or individual grant awards
        should be terminated based on the Secretary's guidance.

                                               Disapprove/date_ _ _ _ __ _ _ _ __ _
                                 :r-z5 ..2-S
Modify/date                                    Needs discussion/date
              - - - - - -- - - - -                                    - - -- - - - - -
                               TABLE A: All FEMA Grant Programs and Recommended Review

                                                                 # of                Risk of      Apply
                                                                                                            Recommended
AFT                          Program                             Open ULO Balance*   NGO /      Sanctuary
                                                                                                            Determination
                                                                Awards             Immigration Jurisdiction
                                                                                                              Cleared by
DRF              Community Disaster Loans (CDL)                   44   $93,791,763    Low          No
                                                                                                                FEMA
                                                                                                              Cleared by
DRF          Disaster Unemployment Assistance (DUA)               18   $49,847,337    Low          No
                                                                                                                FEMA
   Fire Management Assistance Grants (FMAG) – previously
                                                                                                              Cleared by
DRF included as part of Public Assistance – Grants to State & 124         $52,479,916      Low       No
                                                                                                               FEMA
                              Local
                                                                                                              Cleared by
DRF          Hazard Mitigation Grant Program (HMGP)              386     $4,414,617,261    Low       No
                                                                                                               FEMA
      Hazard Mitigation Grant Program Post Fire (HMGP Post                                                    Cleared by
DRF                                                              269      $58,007,937      Low       No
                               Fire)                                                                           FEMA
                                                                                                              Cleared by
DRF          Individual and Households Program (IHP)             N/A     $380,898,640      Low       No
                                                                                                               FEMA
                                                                                                              Cleared by
DRF         Public Assistance – Grants to State & Local         44,266 $73,241,454,318     Low       No
                                                                                                               FEMA
                                                                                                              Cleared by
DRF              Urban Search and Rescue (US&R)                  NA      $141,254,817      Low       No
                                                                                                               FEMA
      Alliance for System Safety of Unmanned Aircraft Systems                                                 Cleared by
FA                                                                4        $4,669,770      Low       No
               through Research Excellence (ASSURE)                                                            FEMA
                                                                                                              Cleared by
FA             Assistance to Firefighter Grants (AFG)            3801    $464,132,184      Low       No
                                                                                                               FEMA
         Building Resilient Infrastructure and Communities                                                    Cleared by
FA                                                               1365   $1,154,059,629**   Low       No
                               (BRIC)                                                                          FEMA
       Chemical Stockpile Emergency Preparedness Program                                                      Cleared by
FA                                                                9       $26,180,310      Low       No
                              (CSEPP)                                                                          FEMA
       Community Assistance Program State Support Services                                                    Cleared by
FA                                                                76      $11,587,984      Low       No
                       Element (CAP-SSSE)                                                                      FEMA
                                                             # of                  Risk of      Apply
                                                                                                          Recommended
AFT                         Program                         Open ULO Balance*      NGO /      Sanctuary
                                                                                                          Determination
                                                           Awards                Immigration Jurisdiction
                                                                                                            Cleared by
 FA           Cooperating Technical Partners (CTP)          480** $239,537,976**    Low          No
                                                                                                              FEMA
     Emergency Management Baseline Assessments Grant                                                        Cleared by
 FA                                                          3**    $127,416**      Low          No
                           (EMBAG)                                                                            FEMA
                                                                                                            Cleared by
 FA           Emergency Operations Center (EOC)               95   $228,725,861     Low          No
                                                                                                              FEMA
                                                                                                            Cleared by
 FA            Fire Prevention and Safety (FP&S)             373    $80,643,658     Low          No
                                                                                                              FEMA
                                                                                                            Cleared by
 FA            Flood Mitigation Assistance (FMA)             473   $909,252,393     Low          No
                                                                                                              FEMA
                                                                                                            Cleared by
 FA Flood Mitigation Assistance Swift Current (FMA Swift)     14        $0**        Low          No
                                                                                                              FEMA
     Homeland Security Preparedness Technical Assistance                                                    Cleared by
 FA                                                            4      $406,557      Low          No
                       Program (HSPTAP)                                                                       FEMA
    Homeland Security National Training Program (HSNTP) -                                                   Cleared by
 FA                                                           17   $134,067,348     Low          No
     National Domestic Preparedness Consortium (NDPC)                                                         FEMA
         HSNTP– National Cybersecurity Preparedness                                                         Cleared by
 FA                                                            5    $16,906,852     Low          No
                          Consortium                                                                          FEMA
                                                                                                            Cleared by
 FA      Intercity Bus Security Grant Program (IBSGP)         59     $2,905,029     Low          No
                                                                                                              FEMA
    National Dam Safety Program and Rehabilitation of High                                                  Cleared by
 FA                                                          207   $244,022,266     Low          No
         Hazard Potential Dams Grant Program (HHPD)                                                           FEMA
        National Earthquake Hazards Reduction Program
                                                                                                            Cleared by
 FA    (NEHRP) and Multi-State and National Earthquake        62     $4,876,775     Low          No
                                                                                                              FEMA
              Assistance (MSNEA) Grant Program
                                                                                                            Cleared by
 FA   National Fire Academy Training Assistance (NFATA)       10     $1,446,388     Low          No
                                                                                                              FEMA
                                                                      # of                 Risk of      Apply
                                                                                                                  Recommended
AFT                             Program                               Open ULO Balance*    NGO /      Sanctuary
                                                                                                                  Determination
                                                                     Awards              Immigration Jurisdiction
                                                                                                                    Cleared by
FA         National Incident Management System (NIMS)                    3  $2,208,411**    Low          No
                                                                                                                      FEMA
                                                                                                                    Cleared by
FA           National Urban Search and Rescue (US&R)                   153   $66,105,406    Low          No
                                                                                                                      FEMA
          Next Generation Warning System Grant Program                                                              Cleared by
FA                                                                       3  $134,196,015    Low          No
                          (NGWSGP) 1                                                                                  FEMA
                                                                                                                    Cleared by
FA                  Pre-Disaster Mitigation (PDM)                       99  $504,369,174    Low          No
                                                                                                                      FEMA
              Safeguarding Tomorrow Revolving Loan
                                                                                                                                     Cleared by
FA      Fund/Safeguarding Tomorrow through Ongoing Risk                  9        $51,397,697            Low             No
                                                                                                                                      FEMA
                      Mitigation Act (STORM)
        Staffing For Adequate Fire and Emergency Response                                                                            Cleared by
FA                                                                     1125    $1,148,541,961**          Low             No
                              (SAFER)                                                                                                 FEMA
                                                                                                                                     Cleared by
FA     State and Local Cybersecurity Grant Program (SLCGP)              161       $760,367,208           Low             No
                                                                                                                                      FEMA
                                                                                                                                     Cleared by
FA            State Fire Training Systems Grants (SFT)                  59          $876,377             Low             No
                                                                                                                                      FEMA
                                                                                                                                     Cleared by
FA           Tribal Cybersecurity Grant Program (TCGP)                  31        $17,620,204            Low             No
                                                                                                                                      FEMA
                                                                                                                                     Cleared by
FA       Tribal Homeland Security Grant Program (THSGP)                 77        $42,539,321            Low             No
                                                                                                                                      FEMA
DRF               Crisis Counseling Program (CCP)                       63        $53,020,947          Medium            No       Pending Review



1
 The Corporation for Public Broadcasting has ﬁled a lawsuit in the District of Columbia District Court on March 13, 2025, contending that FEMA’s
manual payment review process for NGWSGP awards was arbitrary and capricious in violation of the Administrative Procedures Act. If FEMA’s
recommended approach to categorizing the NGWSGP as “Cleared by FEMA” is approved, FEMA will make appropriate payments to the CPB using the
manual payment review process.
                                                                                     # of                Risk of      Apply
                                                                                                                                Recommended
AFT                                    Program                                       Open ULO Balance*   NGO /      Sanctuary
                                                                                                                                Determination
                                                                                    Awards             Immigration Jurisdiction
DRF                   Disaster Case Management (DCM)                                    44         $182,577,136              Medium                No         Pending Review
DRF                      Disaster Legal Services (DLS)                                  11             $95,000               Medium                No         Pending Review
DRF                         Public Assistance – NGOs                                  7,234       $8,498,374,550             Medium                No         Pending Review
DRF           Public Assistance – Non-Congregate Sheltering                            284        $1,297,129,208             Medium                No         Pending Review
FA             Emergency Food and Shelter Program (EFSP)                                12         $251,590,333              Medium                No         Pending Review
FA              Nonprofit Security Grant Program (NSGP) 2                              400         $943,940,157              Medium                No         Pending Review
FA       Emergency Management Performance Grant (EMPG)                                 206         $476,990,846                 Low               Yes           DHS Review
        Homeland Security Grant Program – Operation
FA                                                                                      87         $170,946,880                 Low               Yes           DHS Review
                     Stonegarden (OPSG)
     Homeland Security Grant Program – State Homeland
FA                                                                                     203         $761,745,900                 Low               Yes           DHS Review
                  Security Program (SHSP)
   Homeland Security Grant Program – Urban Area Security
FA                                                                                     104        $1,919,725,009                Low               Yes           DHS Review
                       Initiative (UASI)
   Homeland Security National Training Program (HSNTP) -
FA                                                                                      15          $15,525,591                 Low               Yes           DHS Review
   Continuing Training Grants Program - Competitive (CTG)
FA                   Port Security Grant Program (PSGP)                                787         $266,441,010                 Low               Yes           DHS Review
FA        Presidential Residence Protection Assistance (PRPA)                            2         $2,241,788**                 Low               Yes           DHS Review
           Regional Catastrophic Preparedness Grant Program
FA                                                                                      41          $36,087,421                 Low               Yes           DHS Review
                               (RCPGP)

2
  While State Administrative Agencies (SAA) are the direct recipients of NSGP funding, awards are passed through to nonprofit organizations that are not subject to the sanctuary
jurisdiction conditions or restrictions as described in the criteria above. Management and Administration costs are allowable under this grant program and may be retained by
SAAs.
                                                                           # of                Risk of      Apply
                                                                                                                      Recommended
AFT                               Program                                  Open ULO Balance*   NGO /      Sanctuary
                                                                                                                      Determination
                                                                          Awards             Immigration Jurisdiction
          Targeted Violence and Terrorism Prevention Grant
FA                                                                          122         $34,939,702          Medium             Yes         DHS Review
                           Program (TVTP)
          Transit Security Grant Program (TSGP) / Intercity
FA                                                                           84        $283,147,532             Low             Yes         DHS Review
                      Passenger Rail (IPR)***
                                                                                                                                          DHS Review for
FA             Case Management Pilot Program (CMPP)                           4         $47,201,306            High             Yes
                                                                                                                                           Termination
        Emergency Food and Shelter Program – Humanitarian                                                                                 DHS Review for
FA                                                                          3**       $46,050,064**            High             No
                           (EFSP-H) 3                                                                                                      Termination
                                                                                                                                          DHS Review for
FA                 Shelter and Services Program (SSP)                      156**       $887,107,461            High             Yes
                                                                                                                                           Termination
                                  TOTAL                                                 $100.859B
* ULOs are as of Jan. 28, 2025.

** Chart updated with revised figures. After further review, inaccuracies were identified in previous data that have now been
corrected. 4 Previous FMA Swift Current number reflected unobligated amount rather than unliquidated.

*** Sanctuary jurisdiction conditions would apply to Transit Security Grant Program (TSGP) and not Intercity Passenger Rail (IPR).




3
 For EFSP-H, all spending periods for subawards have expired and the provision of services under the sunset program has ended. The remaining amount is
funding reserved for management and administration (approximately $4 million) for the grantee and funds returned by the board.
      TABLE B: Summary of Unliquidated Obligation (ULO) by Recommended Risk
                                 Determination

FEMA is reviewing all grants at a programmatic level, and also at the individual grant award
level to understand the existing information available, and where additional research within the
system can be conducted or where information from recipients will need to be collected. As the
policy decisions and process are under development, FEMA has begun and will continue the
individual grant award manual payment review process in preparation for the approach and
methodology being approved. This manual review process requires significant staff time, but
once the backlog is cleared, the process will operate on a much shorter processing time.
                                                                                     Backlog
                         Disaster Grants      Non-Disaster
 Risk Determination                                                  Total          Processing
                              ULO             Grant ULO
                                                                                      Time*
 Cleared by FEMA         $78,432,351,989      $6,251,770,170 $84,684,122,159         45 days
 Pending FEMA
                         $10,031,196,841      $1,195,530,490 $11,226,727,331          90 days
 Review
 Recommend DHS
                                     N/A      $3,967,791,679     $3,967,791,679       60 days
 Review
 Recommended
 Terminated                          N/A        $980,358,831       $980,358,831       60 days
 Programs
 Total                   $88,463,548,830    $12,395,451,170           $100.859B

*This estimate includes the approximately 1,450 payment requests already submitted in FEMA
grants systems only. It is not inclusive of the total ULO because payment requests will continue
to be submitted for these programs as the work is completed throughout the period of
performance, which for some programs may be up to three years.
                                    Appendix A
            Federal Emergency Management Agency Grant Programs Overview
                                Background/Purpose

On Feb. 19, 2025, Secretary Noem issued a memorandum Restricting Grant Funding for
Sanctuary Jurisdictions and directed all components to review all federal financial assistance
awards to determine if Department funds, directly or indirectly, are going to sanctuary
jurisdictions (hereinafter “S1 Memo”). Appendix A below provides an overview of each FEMA
administered grant program, to include the purpose of each grant program and the award criteria
(i.e. whether the award criteria are discretionary or governed by statutory or regulatory
competition, allocation, or eligibility criteria).

   Recommended Determination: Cleared by FEMA
   1. Community Disaster Loans (42 U.S.C. §§ 5121, et seq.)
       Purpose: Provides funding for local governments to operate their essential community
       services after substantial revenue loss caused by a disaster.
       Award Criteria: Statutory and regulatory eligibility criteria.


   2. Disaster Unemployment Assistance (42 U.S.C. §§ 5121, et seq.)
       Purpose: Assistance to individuals unemployed as a result of a major disaster
       administered through a grant to the declared state or tribe.
       Award Criteria: Statutory and regulatory eligibility criteria.


   3. Fire Management Assistance Grants (42 U.S.C. §§ 5121, et seq.)
       Purpose: The mitigation, management, and control of any fire on public or private forest
       land or grassland that threatens such destruction as would constitute a major disaster.
       Award Criteria: Statutory and regulatory eligibility criteria.


   4. Hazard Mitigation Grant Program (42 U.S.C. § 5170c)
       Purpose: To help communities implement hazard mitigation measures, such as elevation,
       acquisition, and flood control projects, to reduce or eliminate long-term risk to people
       and property from natural hazards following a presidential major disaster declaration
       under the Stafford Act.
       Award Criteria: Statutory and regulatory eligibility criteria.


   5. Hazard Mitigation Grant Program – Post Fire (42 U.S.C. § 5170c(a); 42 U.S.C. §
      5187(d))
   Purpose: Makes assistance available to help communities implement hazard mitigation
   measures after wildfire disasters.
   Award Criteria: Statutory and regulatory eligibility criteria. States, federally recognized
   tribes and territories affected by fires resulting in a Fire Management Assistance Grant
   (FMAG) declaration on or after Oct. 5, 2018, are eligible to apply.

6. Individual and Households Programs (IHP) (42 U.S.C. §§ 5121, et seq.)
   Purpose: Provides financial and direct services to eligible individuals and households
   affected by a disaster, who have uninsured or under-insured necessary expenses and
   serious needs. IHP assistance is not a substitute for insurance and cannot compensate for
   all losses caused by a disaster. The assistance is intended to meet your basic needs and
   supplement disaster recovery efforts.
   Award Criteria: Statutory and regulatory eligibility criteria.


7. Urban Search & Rescue (US&R) (42 U.S.C. §§ 5121, et seq)
   Purpose: Provides reimbursement for lifesaving rescue operations that were performed by
   Federal Urban Search and Rescue teams during declared disaster.
   Award Criteria: Statutory and regulatory eligibility criteria.


8. Public Assistance – State and Local (42 U.S.C. §§ 5121, et seq.)
   Purpose: Financial assistance to states, tribal, territorial, and local governments for debris
   removal, for emergency work to support public safety, and for the repair, restoration,
   reconstruction, or replacement of a public facility damaged or destroyed by a major
   disaster.
   Award Criteria: Noncompetitive, but with statutory and regulatory eligibility criteria.


9. Homeland Security National Training Program (HSNTP) – Alliance for System
   Safety of Unmanned Aircraft Systems through Research Alliance (Title III of the
   Department of Homeland Security Appropriations Act, 2024, (Pub. L. No. 118-47);
   Joint Explanatory Statement accompanying the Department of Homeland Security
   Appropriations Act, 2024)
   Purpose: Provides funding for Mississippi State University’s Federal Aviation
   Administration Center of Excellence for Unmanned Aircraft Systems (ASSURE) to
   support and target training solutions for state, local, tribal and territorial partners, which
   supports the objective of the National Preparedness System to facilitate an integrated,
   whole community, risk-informed, capabilities-based approach to preparedness.
   Award Criteria: Discretionary, limited statutory award criteria. Award goes to Mississippi
   State University’s Federal Aviation Administration Center of Excellence for Unmanned
   Aircraft Systems.


10. Assistance to Firefighters (15 U.S.C. § 2229)
   Purpose: Financial assistance to fire departments, EMS organizations, and state fire
   training academies to enhance their ability to protect the health and safety of the public,
   as well as that of firefighting and EMS personnel against fire, fire-related, and other
   hazards.
   Award Criteria: Competitive award with statutorily mandated criteria and peer review and
   statutory allocation requirements.


11. Building Resilient Infrastructure and Communities (42 U.S.C. §§ 5133, 5136)
   Purpose: Makes federal funds available to states, the District of Columbia, U.S.
   territories, federally recognized Tribal governments, and local governments for hazard
   mitigation activities. BRIC aims to shift the focus of federal investments away from
   reactive, post-disaster spending and toward research-supported, proactive investments in
   community resilience. These investments aim to reduce future disaster losses, including
   loss of life and property as well as future spending from the Disaster Relief Fund (DRF).
   BRIC focuses on cost-effective mitigation measures including protecting public
   infrastructure so that critical services can withstand or more rapidly recover from future
   disasters, as well as other projects and activities to increase resilience throughout the
   nation.
   Award Criteria: For the FY23 NOFO, there was a State/Territory allocation, a Tribal Set-
   Aside, and a National Competition with the remaining funds that are not awarded from
   the State/Territory Allocation and Tribal Set-Aside.


12. Chemical Stockpile Emergency Preparedness Program (50 U.S.C. § 1521)
   Purpose: To assist state, local, and tribal governments in carrying out functions related to
   emergency preparedness and response in connection with the disposal of the lethal
   chemical agents and munitions in the United States’ lethal chemical agents and munitions
   that existed on Nov. 8, 1985.
   Award Criteria: Eligibility limited to communities in close proximity to military
   installations storing chemical weapons. FEMA currently awards a cooperative agreement
   to Kentucky who in turn pass-through subawards to local governments.


13. Community Assistance Program – State Support Services Element (CAP-SSSE) (42
    U.S.C. §§ 4101, 4102)
   Purpose: CAP-SSSE is a cooperative agreement which provides funding to state National
   Flood Insurance Program (NFIP) Coordinators to monitor community adoption and
   enforcement of the minimum floodplain management standards required for participation
   in the NFIP. CAP-SSSE funding is used to provide technical assistance to NFIP
   communities, evaluate community performance in implementing floodplain management
   activities, and conduct community assistance contacts and visits to ensure communities
   are compliant with NFIP minimum requirements and flood insurance remains available
   for sale within the communities.
   Award Criteria: Discretionary, non-competitive award to State NFIP Coordinators, which
   may subaward funding to local or municipal floodplain management authorities.


14. Cooperating Technical Partners (CTP) Program (42 U.S.C. § 4101)
   Purpose: To provide assistance to state, local, tribal, university, and nonprofit
   organizations to increase local involvement in and ownership of flood hazard
   identification and assessment programs. Recipients assist in the development and
   maintenance of flood risk data, which is used to develop or amend Flood Insurance Rate
   Maps and provide the baseline for communities to prepare for and mitigate against flood
   risks.
   Award Criteria: Discretionary. No statutory criteria.


15. Emergency Management Baseline Assessment Grant (6 U.S.C. § 112 (b)(2))
   Purpose: To assist the updating and enhancement of a set of standards for emergency
   preparedness and response and a related assessment methodology for the evaluation of
   state, local, and territorial emergency management operations.
   Award Criteria: Discretionary, no statutory award criteria.


16. Emergency Operations Center Grant Program (42 U.S.C. § 5196c)
   Purpose: Grants made available to State Administrative Agencies (SAAs) for equipping,
   upgrading, and constructing state, local, and tribal emergency operations centers.
   Award Criteria: Eligible Emergency Operations Center projects identified in the Joint
   Explanatory Statement.


17. Fire Prevention and Safety (15 U.S.C. § 2229)
   Purpose: Financial assistance to fire prevention programs and support for firefighter
   health and safety research and development.
   Award Criteria: Competitive award with statutorily mandated criteria and peer review and
   statutory allocation requirements.
18. Flood Mitigation Assistance (42 U.S.C. § 4104c)
   Purpose: To fund mitigation projects such as elevation, acquisition, floodproofing, and
   planning that reduces or eliminates long-term risk of flood damage to structures insured
   under the NFIP.
   Award Criteria: Statutory eligibility criteria. Award determinations and funding
   allocations among eligible jurisdictions are made on a competitive basis with discretion
   to add criteria.

19. Flood Mitigation Assistance – Swift Current (42 U.S.C. § 4104c)
   Purpose: Provides funding to mitigate buildings insured through the National Flood
   Insurance Program (NFIP) after a major disaster declaration following a flood-related
   disaster event to reduce risk against future flood damage. Funds are made available to
   states, territories, and federally recognized tribal governments that receive a major
   disaster declaration following a flood-related disaster event and meet all other eligibility
   criteria.
   Award Criteria: Funding is only available to property owners that have a current flood
   insurance policy under the National Flood Insurance Program (NFIP) and a history of
   repetitive or substantial damage from flooding.

20. Homeland Security Preparedness Technical Assistance Program (6 U.S.C. § 112
    (b)(2))
   Purpose: To help private organization recipients to conduct planning, coordination, and
   training activities related to emergency management and preparedness.
   Award Criteria: Discretionary, no statutory award criteria.

21. Homeland Security National Training Program (HSNTP) - National Domestic
    Preparedness Consortium (NDPC) (6 U.S.C. §§ 1102 and 112 (b)(2))
   Purpose: To assist statutorily designated National Domestic Preparedness Consortium
   members to identify, develop, test, and deliver training to state, local, and tribal
   emergency response providers; provide on-site and mobile training; and facilitate
   delivery of training.
   Award Criteria: Discretionary, limited statutory award criteria. Awards may only go to
   one of the six non-Federal members of the National Domestic Preparedness Consortium
   named in statute, which consist of five state universities and one private entity.


22. National Cyber Security Preparedness Consortium (National Cybersecurity
    Preparedness Consortium Act, 2021 (Pub. L. No. 117-122))
   Purpose: Delivers over 40 training courses for more than 1,000 SLTT emergency
   managers, cyber network managers, and critical infrastructure professionals, annually to
   strengthen local, state, and national cyber and information systems and defend against
   and recover from cyber-attacks including attacks with cascading physical consequences.
   Award Criteria: Awards may only go to one of the six non-federal members of the
   National Domestic Preparedness Consortium named in statute, which consist of five state
   universities and one private entity.

23. Intercity Bus Security Grant Program (6 U.S.C. § 1182)
   Purpose: To make awards to eligible private operators providing transportation by an
   over-the-road bus for security improvements.
   Award Criteria: Discretionary, competitive award based on statutory criteria that require
   funding decisions to prioritize security risks. The eligible applicants are private bus
   operators and not states or local governments.

24. National Dam Safety Program (33 U.S.C. § 467f)
   Purpose: To enable states to increase dam safety through increased inspections,
   emergency action planning, improved state and federal coordination, training and
   workshops, and purchasing of equipment.
   Award Criteria: Awards are based on eligibility criteria that are set by statute with funding
   allocations based on a statutory formula.

25. Rehabilitation of High Hazard Potential Dam Program (33 U.S.C. § 467f-2)
   Purpose: Provide technical, planning, design, and construction assistance in the form of
   grants for rehabilitation, repair, and removal of eligible high hazard potential dams.
   Award Criteria: For FY 2024, FEMA made funding available in allocations for 32 states
   and one territory.

26. National Earthquake Hazards Reduction Program – Multi-State and National
    Earthquake Assistance (MSNEA) (42 U.S.C. § 7704(a)(2)(B), (b)(2)(A)(i))
   Purpose: The National Earthquake Hazards Reduction Program (NEHRP) Multi-State
   and National Earthquake Assistance (MSNEA) grant program makes funds available to
   nonprofit organizations and institutions of higher education that possess the critical skills
   necessary to develop and implement regional (multi-state) and/or national earthquake risk
   mitigation activities.
   Award Criteria: Discretionary. The program’s authorizing statutes do not prescribe
   specific criteria for recipients. FEMA awards competitive grants to nonprofit
   organizations and institutions of higher education that possess the critical skills necessary
   to develop and implement regional (multi-state) and/or national earthquake risk
   mitigation activities, on behalf of states and territories participating in the FEMA NEHRP
   State Assistance program.


27. National Earthquake Hazards Reduction Program – Individual State Earthquake
    Assistance (ISEA) (42 U.S.C. § 7704(b)(2)(A)(ix) and 42 U.S.C. § 7704(b) (2)(B))
   Purpose: FEMA awards non-competitive grants to eligible states and territories with high
   to very high seismic risks to fund one or more of the following allowable activities. The
   purpose is to support the establishment of earthquake hazards reduction programming
   and the implementation of earthquake safety, mitigation, and resilience activities at the
   state and local level.
   Award Criteria: Statutory and regulatory eligibility criteria. Eligibility is limited to states
   and territories that have been determined to have a high or very high risk of earthquakes.
   Eligibility is further limited to those states and territories who can provide the statutory
   25% non-federal cost share.


28. National Fire Academy Training Assistance (Section 7 of the Federal Fire prevention
    and Control Act 15 U.S.C. 2206 (i)(1))
   Purpose: Provides travel stipends (air or mileage) to SLTT fire and EMS personnel who
   attend resident classes at the National Fire Academy.
   Award Criteria: Assistance to individuals reimbursing for part of cost to attend trainings
   in Emmitsburg, MD


29. National Incident Management System (NIMS) / Emergency Management
    Assistance Compact Program (EMAC) Program (6 U.S.C. § 761)
   Purpose: To assist the administrator of the Emergency Management Assistance Compact
   (EMAC) to administer EMAC operations, to implement NIMS, and to continue
   coordination with FEMA and state, local, and tribal governments.
   Award Criteria: Eligibility limited to administration of the Emergency Management
   Assistance Compact (EMAC).


30. National Urban Search and Rescue (US&R) Response System (42 U.S.C. § 5165f, 6
    U.S.C. § 722)
   Purpose: The purpose of these Readiness Cooperative Agreements is to support the
   continued development and maintenance of a national urban search and rescue capability
   among the 28 task forces within the National Urban Search and Rescue Response
   System.
   Award Criteria: Statutory and regulatory eligibility criteria. Only the 28 sponsoring
   agencies currently designated by FEMA as members of the National Urban Search and
   Rescue Response System are eligible for readiness and response cooperative agreements.


31. Next Generation Warning System (Annual DHS Appropriations Acts)
   Purpose: Enables public television broadcasters to upgrade to the Advanced Television
   Systems Committee broadcast standard (ATSC 3.0) that enables public projects that
   improve the ability of remote rural areas to receive alerts and warnings.
   Award Criteria: The Corporation for Public Broadcasting is the only awardee of the grant.
   Per the FY24 NOFO, the awardee will then manage a competitive process to solicit sub-
   grant applications from eligible subrecipients to use these funds in accordance with the
   requirements and priorities set forth in the NOFO.


32. Pre-Disaster Mitigation (42 U.S.C. § 5133)
   Purpose: Makes federal funds available to state, local, tribal, and territorial governments
   to plan for and implement sustainable cost-effective measures designed to reduce the risk
   to individuals and property from future natural hazards, while also reducing reliance on
   federal funding from future disasters.
   Award Criteria: The FY 2024 PDM Grant Program provided funding to projects
   identified in the 2024 DHS Appropriations Act’s Joint Explanatory Statement (JES) in the
   table starting on page 59 entitled “Homeland Security Community Project
   Funding/Congressionally Directed Spending.”


33. Safeguarding Tomorrow Through Ongoing Risk Mitigation Loan Fund Program (42
    U.S.C. § 5135)
   Purpose: Provides capitalization grants to states, eligible federally recognized tribal
   governments, territories and the District of Columbia to establish revolving loan funds
   that provide hazard mitigation assistance for local governments to reduce risks from
   natural hazards and disasters.
   Award Criteria: Awards are based on eligibility criteria that are set by statute with funding
   allocations based on a statutory formula.

34. Staffing for Adequate Fire and Emergency Response (15 U.S.C. § 2229a)
   Purpose: Financial assistance for increasing the number of firefighters to help
   communities meet industry standards and attain 24-hour staffing to provide adequate
   protection from fire and fire-related hazards.
   Award Criteria: Competitive award program with statutorily mandated minimum
   application criteria and peer review.

35. State and Local Cybersecurity Grant Program (6 U.S.C. § 665g)
   Purpose: To assist state, local, and territorial governments with managing and reducing
   systemic cyber risk.
   Award Criteria: Mandatory, allocations to each state and territory based on statutory
   formula with the remainder to the states based on population.
   36. State Fire Training Systems Grants (15 U.S.C. § 2206(f))
      Purpose: To assist state fire service systems in providing training programs.
      Award Criteria: Discretionary, no statutory award criteria.

   37. Tribal Cybersecurity Grant Program (6 U.S.C. § 665g)
      Purpose: To assist tribal governments with managing and reducing systemic cyber risk.
      Award Criteria: Statutory requirement that the Secretary of DHS shall consult with the
      Secretary of the Interior and tribal governments in determining whether the grant would
      be competitive or allocated equally among the tribal governments of the federally
      recognized tribal nations.


   38. Tribal Homeland Security Grant Program (6 U.S.C. § 606)
      Purpose: Financial assistance to tribal governments to build and sustain capabilities
      related to preventing, preparing for, protecting against, and responding to acts of
      terrorism.
      Award Criteria: Competitive award based on statutory criteria.

   39. Intercity Passenger Rail (6 U.S.C. § 1163)
      Purpose: To assist Amtrak in protecting critical surface transportation infrastructure and
      the traveling public from acts of terrorism and to increase the resilience of the Amtrak rail
      system.
      Award Criteria: Sole source award to Amtrak. No funding is granted to states or local
      governments.


Recommended Determination: Pending Review
   1. Crisis Counseling Program (42 U.S.C. §§ 5121, et seq.)
      Purpose: Assistance to provide professional counseling services or training of disaster
      workers to survivors of major disasters to relieve mental health problems caused or
      aggravated by major disasters or their aftermath.
      Award Criteria: Statutory and regulatory eligibility criteria.

   2. Disaster Case Management (42 U.S.C. §§ 5121, et seq.)
      Purpose: Case management services to survivors of major disasters to identify and
      address unmet needs.
      Award Criteria: Statutory and regulatory eligibility criteria.
3. Disaster Legal Services (DLS) (42 U.S.C. §§ 5121, et seq.)
   Purpose: Provides confidential, free legal assistance to survivors who need legal help due
   to a major disaster, but who do not have the means to secure adequate legal services. For
   individuals seeking DLS, there is no formal application process. Individuals can access
   these services by contacting the phone number designated for the specific major disaster,
   which is established once the program has been authorized. In addition to this phone
   number, individuals can visit FEMA Disaster Recovery Centers where DLS attorneys
   may be physically located.
   Award Criteria: Statutory and regulatory eligibility criteria.


4. Public Assistance – Non-Governmental Organizations (42 U.S.C. §§ 5121, et seq.)
   Purpose: Financial Assistance to NGOs that perform essential community services for
   emergency work to ensure public safety, and for the repair, restoration, reconstruction, or
   replacement of an eligible facility damaged or destroyed by a major disaster.
   Award Criteria: Statutory and regulatory eligibility criteria.


5. Public Assistance – Non-Congregate Sheltering (42 U.S.C. §§ 5121, et seq.)
   Purpose: Financial Assistance to state, local, tribal and territorial governments for eligible
   sheltering expenses caused by a disaster.
   Award Criteria: Statutory and regulatory eligibility criteria.


6. Emergency Food and Shelter Program (42 U.S.C. §§ 11331-11346)
   Purpose: To supplement and expand ongoing efforts to provide shelter, food and
   supportive services for hungry and homeless people across the nation.
   Award Criteria: Mandatory, subaward determinations made by external board based on
   statutory criteria.


7. Nonprofit Security Grant Program (6 U.S.C. § 609a)
   Purpose: To assist non-profit organizations in target hardening and other physical security
   enhancements and activities.
   Award Criteria: By statute, only nonprofits that are located within a FEMA designated
   Urban Area for purposes of the Urban Area Security Initiative (UASI) program are
   eligible to apply for funding. The criteria for competitive award include a risk
   prioritization that is statutorily required, providing limited discretion to add grant
   conditions. There is no discernible connection between an award for a nonprofit
   organization and 8 U.S.C. §§ 1324(a)(1)(A)(ii)-(iv), 1373, and 1644 and the other criteria
   established in the S1 Memo.
Recommended Determination: DHS Review
  1. Emergency Management Performance Grant (6 U.S.C. § 762)
     Purpose: To assist state, local, tribal, and territorial governments “in preparing for all
     hazards” and all phases of emergency management.
     Award Criteria: Mandatory, allocations to each state based on a statutory formula.

  2. State Homeland Security Grant Program (6 U.S.C. §§ 601 – 613)
     Purpose: Assists states and local and tribal governments in building and sustaining
     capabilities related to preventing, preparing for, protecting against, and responding to acts
     of terrorism.
     Award Criteria: Statutory minimum allocation for each state with remaining awarded
     based on risk calculated using statutory criteria.


  3. Urban Area Security Initiative (6 U.S.C. §§ 601 – 613, DHS Appropriations Acts)
     Purpose: Financial assistance to high-risk urban areas in building and sustaining
     capabilities related to preventing, preparing for, protecting against, and responding to acts
     of terrorism.
     Award Criteria: Awards based on risk calculated using statutorily required criteria.
     Discretion in determining how many high-risk urban areas shall receive funding through
     a State, but that discretion is often limited or guided by Congress through the annual
     appropriations process.


  4. Operation Stonegarden (6 U.S.C. §§ 601 – 613, DHS Appropriations Acts)
     Purpose: Operation Stonegarden funds target expenditure by local governments for the
     purpose of border protection and border security.
     Award Criteria: Discretionary, competitive awards to states with 100% of funds sub-
     awarded to local law enforcement. The Department adopts the requirement for
     competition and criteria for award that is provided for in the legislative history of the
     appropriations act funding the program.


  5. Homeland Security National Training Program - Continuing Training Grants –
     Competitive (Annual DHS Appropriations Acts)
     Purpose: To help training partners develop and deliver training to prepare whole
     communities to prevent, protect against, mitigate, respond to, and recover from acts of
     terrorism and natural, man-made, and technological hazards.
     Award Criteria: Discretionary, no statutory award criteria. Per the FY24 NOFO, the Joint
     Explanatory Statement accompanying the FY 2024 DHS Appropriations Act (Pub. L. No.
   118-47) directs Continuing Training Grants to be competitively awarded for FEMA-
   certified rural and tribal training.


6. Port Security Grant Program (46 U.S.C. § 70107)
   Purpose: Assistance to port authorities, facility operators, and state and local governments
   for maritime transportation infrastructure security.
   Award Criteria: Statute requires that funds be allocated based on risk, but otherwise
   discretionary.


7. Presidential Residence Protection Assistance Program (Annual DHS Appropriations
   Acts)
   Purpose: Provides funds to reimburse state and local enforcement agencies (LEAs) and
   emergency management agencies (EMAs) for extraordinary law enforcement or other
   emergency personnel costs incurred while protecting any non-governmental residence of
   the President that is designated or identified to be secured by the U.S. Secret Service.


8. Regional Catastrophic Preparedness Grant Program. (Annual DHS Appropriations
   Acts)
   Purpose: Supports the building of core capabilities essential to achieving the
   National Preparedness Goal of a secure and resilient nation by providing resources to
   close known capability gaps in Housing and Logistics and Supply Chain Management,
   encouraging innovative regional solutions to issues related to catastrophic incidents, and
   building on existing regional efforts.
   Award Criteria: Discretionary program with no statutory award criteria. This program is
   administered through a competitive selection process.

9. Targeted Violence and Terrorism Prevention (6 U.S.C. § 112 (b)(2); Annual DHS
   Appropriations Acts)
   Purpose: To help prepare for, prevent and respond to emergent threats from violent
   extremism through planning, developing, implementing, or expanding educational
   outreach, community engagement, social service programs, training and exercises.
   Award Criteria: Discretionary program with no statutory award criteria. This program is
   administered through a competitive selection process.

10. Transit Security Grant Program (6 U.S.C. § 1135)
   Purpose: The purpose of the grant is to build and sustain transit agency security
   capabilities that protect national security.
   Award Criteria: Discretionary, competitive awards based on statutory criteria that require
   prioritization of funding based on risk.
Recommended Determination: DHS Review for Termination
   1. Case Management Pilot Program (Annual DHS Appropriation Acts)
      Purpose: Makes funds available to local governments and/or nonprofits to provide
      voluntary case management and other services to aliens in immigration removal
      proceedings.
      Award Criteria: Discretionary; the CMPP National Board makes funds available to local
      governments and/or nonprofits (subrecipients) to provide case management and
      culturally, trauma-informed, and linguistically responsive services to eligible noncitizens
      who affirmatively volunteer to participate in the program.

   2. Emergency Food and Shelter Program – Humanitarian (42 U.S.C. §§ 11331-11346)
      Purpose: To provide shelter and other services to families and individuals encountered by
      the Department of Homeland Security.
      Award Criteria: Mandatory, subaward determinations made by external board based on
      statutory criteria.

   3. Shelter and Services Program. (Annual DHS Appropriations Acts)
      Purpose: To provide funds to non-federal entities for sheltering and related activities to
      aliens following their release from DHS. The intent is to support Customs and Border
      Protection in the safe, orderly, and humane release of aliens from short-term
      holding facilities.
      Award Criteria: SSP-Competitive: Competitive grants made available to local
      governments, federally recognized tribal governments, nonprofit organizations, and states
      that serve aliens recently released from DHS custody to provide shelter, food,
      transportation, acute medical care, personal hygiene supplies, and case management
      services and to increase the non-federal entities capacity to shelter aliens recently
      released from DHS custody, including renovations and modifications to existing
      facilities.

      SSP-Allocated: Funding in the FY24 NOFO is allocated to eligible applicants listed in a
      table in the NOFO. The allocations were based on release and destination data received
      from CBP over the time period of July 1, 2023, to Dec. 31, 2023, along with operational
      information available to CBP.
EXHIBIT 2
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                                                                         U.S. Department of Homela nd Sec uri ty
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                                                                        Homeland
                                                                        Security
                                         Februaiy 19, 2025

MEMORANDUM FOR ALL AGENCIES AND OFFICES
                                                                       ------
FROM:          Kristi Noem
               Secretary        - -- •
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SUBJECT:


Following the hon-ific attacks on this country on September 11 , 2001 , the American people
trusted their leaders to make sure it would never happen again. Among the circumstances that led
to those attacks was the failure to treat immigration as a national security issue. The 9/11
Commission Report for example, recognized that "the institutions charged with protecting our
borders ... did not understand how grave th[e] threat could be. 9/11 Commission Report at xvi.
The Commission also specifically noted that there were at that time, "9 million people ... in the
United States outside the legal immigration system." Id at 390. A second factor recognized by
the Commission was the failw-e of different law enforcement entities to share information. The
Report recognized "pervasive problems of managing and sharing information across a large and
unwieldy government." Id. at xvi.

The year after those terrible attacks, President George W. Bush signed into the law the Homeland
Security Act of 2002. The Act created the Department of Homeland Security (DHS), and it
transferred into that new agency a number of important national security components, including
those responsible for immigration enforcement. Congress expressly found that " State and local
personnel have capabilities and opportunities to gather information on suspicious activities and
ten-orist threats not possessed by Federal agencies. " 6 U.S.C . § 48I(b)(8). Congress also found
that "[t]he Federal Government relies on State and local personnel to protect against terrorist
attack." Id.§ 48l(b)(2).

The bottom line is that partnership is an essential element of our national security and public
safety mission. And that mission undoubtedly includes immigration enforcement. State and local
governments that refuse to cooperate with, refuse to share information with or even actively
obstruct federal immigration enforcement reject these ideals and the history we share in common
as Americans. If any government entity chooses to thumb its nose at the Department of
Homeland S curity 's national security and public safety mission, it should not receive a single
dollar of the Department's money unless Congress has specifically required it.

For purposes of this memorandum, "sanctua1y jurisdictions" include the following:

   •   Jurisdictions that fail to comply with the information sharing requirements of 8 U.S.C.
       §§ 1373 and 1644.



                                                                        www.dhs.gov
Prohibiting Grant Funding for Sanctuary Jurisdictions
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   •   Jurisdictions that violate other relevant laws, including prohibitions on encouraging or
       inducing an alien to come to, enter, or reside in the United States in violation of law, 8
       U.S.C. § 1324(a)(l)(A)(iv), prohibitions on transporting or moving illegal aliens, id
       § 1324(a)(l )(A)(ii), prohibitions on harboring, concealing, or shielding from detection
       illegal aliens, id. § 1324(a)(l)(A)(iii), and any applicable conspiracy, aiding or abetting,
       or attempt liability respecting these statutes.

   •   Jurisdictions that fail to honor requests for cooperation, such as participation in joint
       operations, sharing of information, or requests for short term detention of alien pursuant
       to a valid detainer. Ajurisdiction, however, is not a sanctuary jurisdiction merely because
       it lacks the necessary resources to assist in a particular instance.

   •   Any jurisdiction that fails to provide access to detainees, such as when an immigration
       officer seeks to interview a person who might be a removable alien.

   •   Any jurisdiction that leaks the existence of an enforcement operation.

All components are to review all federal financial assistance awards to determine if Department
funds, directly or indirectly, are going to sanctuary jurisdictions. To the extent consistent with
relevant legal authorities and the applicable terms and conditions of each award, each component
must cease providing federal funding to sanctuary jurisdictions. Components should also make
appropriate criminal referrals to the Department of Justice where illegal conduct is discovered.

For questions regarding applicable legal authorities, components must consult with the General
Counsel or his designee. For questions regarding whether a particular jurisdiction is a sanctuary
jurisdiction, components must consult with the Director of Immigration and Customs
Enforcement and the Commissioner of Customs and Border Protection or their designees.

Within 30 days, each component shall provide a report to the Undersecretary for Management
with a summary of actions taken to comply with this memorandum.
